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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                     Hon. Claire C. Cecchi


                 v.

                                             Criminal No. 19-877
MATTHEW BRENT GOETTSCHE
[DEFENDANT TWO]
JOBADIAH SINCLAIR WEEKS
JOSEPH FRANK ABEL                      AMENDED SCHEDULING ORDER
SILVIU CATALIN BALACI


      This matter having come before the Court for consideration; and the

United States being represented by Craig Carpenito, United States Attorney for

the District of New Jersey (by Jamie L. Hoxie, David W. Feder, Anthony P.

Torntore, Assistant U.S. Attorneys, appearing (the “Government’s Attorneys”));

and defendant Matthew Brent Goettsche being represented by Rodney Villazor,

Esq., Andrew Lourie, Esq., Hartley M.K. West, Esq., and Benjamin J.A. Sauter,

Esq.; and defendant Jobadiah Sinclair Weeks being represented by Adam P.

Schwartz, Esq., Andrew M. Hinkes, Esq., Michael L. Yaeger, Esq., and Simon A.

Gaugush, Esq.; and defendant Joseph Frank Abel being represented by Jason

J. LeBoeuf, Esq. (collectively, the “Defendants”); and the parties having

conferred; and the Government having submitted the proposed amended

scheduling order; and Defendants having agreed upon the Government’s

proposed amended scheduling order; and the Court having determined that this

matter may be treated as a criminal case that requires extensive discovery

within the meaning of paragraph 4 of this Court’s Standing Order for Criminal
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Trial Scheduling and Discovery; and the Court having accepted the proposed

schedule of the parties for the exchange of the discovery, and for good cause

shown,

      It is on this ___ day of June, 2020, ORDERED that:

      1.      The Scheduling Order, dated May 21, 2020, remains in effect,

except that the parties have agreed to the following amended schedule for the

beginning of the process to review potentially privileged material (the “Filter

Schedule”):

              a.   On June 15, 2020, the Government, through the

Government’s filter attorney (the “Filter Attorney”) will provide each Defendant

with a list of the search terms that have been used to segregate all potentially

privileged and attorney work-product protected materials (“Potentially Privileged

Materials”) within the Defendants’ personal electronic accounts (the “Personal

Electronic Data”). On June 19, 2020, defendants will provide proposed

additional search terms to the Filter Attorney. The Filter Attorney and

Defendants agree that, with the exception of any terms which require resolution

by the Court, the Filter Attorney will run search terms against the Personal

Electronic Data and will provide each Defendant with a copy of, or with access

to, Potentially Privileged Materials segregated from that Defendant’s Personal

Electronic Data on or before July 15, 2020.

              b.   With respect to the paper records and material taken from

devices seized on or about December 10, 2019 (the “December 10th Materials”),

on June 19, 2020, each Defendant will provide the Filter Attorney with search


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terms to be applied against the December 10th Materials that are associated

with that Defendant, for the purpose of segregating Potentially Privileged

Materials from other data. With the exception of any terms which require

resolution by the Court, the Filter Attorney will run the search terms against

the December 10th Materials and provide each Defendant with a copy of, or

with access to, the Potentially Privileged Materials that are segregated from the

December 10th Materials that are associated with that Defendant on or before

July 15, 2020.




                                     _____________________________
                                     Honorable Claire C. Cecchi
                                     United States District Judge




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